            Case 3:22-mj-03833-KSC Document 1 Filed 10/18/22 PageID.1 Page 1 of 12
AO I 06A (08/ 18) Application for a Warrant by Telephone or Other Reliable Electronic Means



                                         UNITED STATES DISTRICT COURT
                                                                          for the
                                                            outhem District of California

              l n the Matter of the Search of                                  )
          (Briefly describe the property to he searched
                                                                                                           '22 MJ3833
                                                                               )
           or identify the person by name and address)                                        Case    o.
                                                                               )
                         White iPhone                                          )
                    202325010000200 1-002                                      )
                      ("Target Device 2")                                      )

    APPLICA TJON FOR AW ARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of pe1jury that I have reason to beli eve that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A-1, incorporated herein by reference.

located in the              Southern                 District of                California                   , there is now concealed (iden1ify 1he
person or describe the property   10   be seized):

See Attachment B, incorporated herein by reference.

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more) :
                 ~ evidence of a crime;
                 0 contraband, frnits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                                 Offense Description

        21 USC Sec. 952 and 960                      Importation of Controlled Substance
        21 USC Sec. 963                              Conspiracy to Import
          The app li cation is based on these facts:
        See Attached Affidavit of Task Force Officer Lisa Luna, Homeland Security Investigations, incorporated herein by
        reference.
           ~ Continued on the attached sheet.
           0 Delayed notice of        days (give exact ending date if more than 30 days:
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                ---p-t--A~p ko,u > ,;g""'""
                                                                                                     Lisa Luna, Task Force Officer
                                                                                                           Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Cr im. P. 4.1 by
                    ~epho ne


Date:            10/17/2022


City and state: San Diego, California                                              ~on. KAREN S. CRAWFORD, U.S. Magistrate Judge
                                                                                                           Printed name and title
   Case 3:22-mj-03833-KSC Document 1 Filed 10/18/22 PageID.2 Page 2 of 12




                               ATTACHMENT A-2

                         PROPERTY TO BE SEARCHED

The fo llowing property is to be searched:

      White iPhone Phone
      Seizure N o. 20223250 100002001
      ("Target D evice 2")

The Target Device is currently in the possession of Homeland Security
Investigations, located at 720 East San Ysidro Blvd., San Ysidro, CA 92173.
   Case 3:22-mj-03833-KSC Document 1 Filed 10/18/22 PageID.3 Page 3 of 12




                                ATTACHMENTB
                              ITEMS TO BE SEIZED

       Authorization to search the cellular telephone described in Attachment A-1
includes the search of disks, memory cards, deleted data, remnant data, slack space,
and temporary or permanent files contained on or in the cellular telephone for
evidence described below. The seizure and search of the cellular telephone shall
fol low the search methodology described in the affidavit submitted in support of the
warrant.

       The evidence to be seized from the cellular telephone will be electronic
records, communications, and data such as emails, text messages, chats and chat logs
from various third-party applications, photographs, audio files, videos, and location
data, for the period of September 15, 2022 to October 15, 2022:

      a.     tending to indicate efforts to import controlled substances from Mexico
             into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers- used to
             facilitate the importation of controlled substances from Mexico into the
             United States;

      c.     tending to identify co-conspirators, criminal associates, or others
             involved in importation of Methamphetamine, or some other federally
             controlled substance, from Mexico into the United States;

      d.    tending to identify travel to or presence at locations involved in the
            importation controlled substances from Mexico into the United States,
            such as stash houses, load houses, or delivery points;

      e.     tending to identify the user of, or persons with control over or access
             to, the Target Device; and/or

      f.    tending to place in context, identify the creator or rec1p1ent of, or
            establish the time of creation or receipt of communications, records, or
            data involved in the activities described above;

which are evidence of violations of Title 21, United States Code, Sections 952, 960
and 963.
        Case 3:22-mj-03833-KSC Document 1 Filed 10/18/22 PageID.4 Page 4 of 12




 1                                          AFFIDAVIT
 2         I, Task Force Officer Lisa M. Luna, being duly sworn, hereby state as follows:
 3                                       INTRODUCTION
 4         1.     I submit this affidav it in support of an application for a warrant to search the
 5 following electronic device(s), (Collectively, the "Target D evices"):

 6
                        Black iPhone Phone
 7                      Seizure No. 202325010000200 1-002
                        ("Target Device l ")
 8
 9                      White iPhone Phone
                        Seizure No. 2023250100002001 -002
10
                        ("Target Device 2")
11
12 as further described in Attachments A-1, and A-2, and to seize evidence of crimes,
13 specifically violations of Title 2 1, United States Code, Sections 952, 960, and 963 as
14 further described in Attachment B. The requested warrant relates to the investigation and
15 prosecution of Jerardo CANO ("Defendant") for importing approximately 30.16 k ilograms
16 (66.49 pounds) of Methamphetamine from Mexico into the United States. The Target
17 Devices are currently in the custody of Homeland Security Investigations and located at
18 720 East San Ysidro Blvd., San Ysidro, CA 92173.
19         2.     The information contained in this affidavit 1s based upon my training,
20 experience, investigation, and consultation with other members of law enforcement.
21   Because this affidavit is made for the limited purpose of obtaining a search warrant for the
22 Target Devices, it does not contain all the infonnation known by me or other agents
23   regarding this investigation. All dates and times described are approximate.
24
                                          BACKGROUND
25
           3.     I have been a Customs and Border Protection (CBP) Officer since September
26
     2000. As a CBP Officer, I am a Federal Law Enforcement Officer w ithin the meaning of
27
     Rule 4l(b) of the Federal Rules of Criminal Procedure, that is, a government agent engaged
28
     in the enforcement of the criminal laws of the United States, and thereby authorized to
         Case 3:22-mj-03833-KSC Document 1 Filed 10/18/22 PageID.5 Page 5 of 12




 1 request issuance of federal search and seizure warrants.
 2
            4.    I am a graduate of the CBP Officer academy at the Federal Law E nforcement
 3
     Training Center (FLETC) in Glynco, Georgia, and the Advanced Training Center in
 4
     Harpers Ferry, West Virginia. Part of this training included course studies in, among other
 5
     things, criminal law, constitutional law, search and seizures, and courtroom procedure. As
 6
     a result of my training and experience as a CBP Officer, I am familiar with federal criminal
 7
     and immigration laws, and my primary duties have been the enforcement of those laws.
 8
            5.    I am currently a CBP Enforcement Officer assigned as a Homeland Security
 9
     Investigations ("HSI") Task Force Officer ("TFO" ) to the San Diego Narcotics
10
     Enforcement Team ("SDNET") and have been for approximately two years and eight
11
     months. As a TFO, my responsibilities include conducting criminal investigations of the
12
     smuggling and transportation of narcotics and currency in and/or around the Southwest
13
     Border. I am a " law enforcement officer of the United States" under 18 U.S.C. § 2510(7),
14
     empowered to investigate and make arrests for offenses enumerated in 18 U.S.C. § 2516.
15
            6.    As CBP Enforcement Officer and TFO, my responsibilities included the
16
     investigation of possible violations of narcotics laws (Title 21, United States Code) and
17
     related offenses. As part of my assignments, I have interviewed countless of defendants
18
     and witnesses in drug smuggling investi gations. Through my observations and these
19
     interv iews, I have gained a working know ledge and insight into the operational habits of
20
     narcotics smugglers, with paiiicular emphasis on those who attempt to smuggle illegal
21
     drugs into the United States from Mexico.
22
            7.    In preparing th is affidavit, I have also conferred with other agents and law
23
     enforcement personnel who are experienced in the area of narcotics smuggling
24
     investigations, and the opinions stated below are shared by them. Further, I have personal
25
     know ledge of the facts below, or have had them related to me by persons mentioned in this
26
     affidavit.
27
            8.    Through the course of my training, investigations, and conversations with
28
     other law enforcement personnel, I am aware that it is a common practice for narcotics
        Case 3:22-mj-03833-KSC Document 1 Filed 10/18/22 PageID.6 Page 6 of 12




     smugglers to work in concert with other individuals and to do so by utilizing cellular
 2 telephones to maintain communications with co-conspirators in order to further their
 3 criminal activities. This is particularly true in cases involving distributional quantities of
 4   hard narcotics, such as cocaine, heroin, and methamphetamine . Typically, load drivers
 5 smuggling narcotics across the border from Mexico into the United States are in telephonic
 6 contact with co-conspirators immediately prior to and following the crossing of the load
 7 vehicle, at which time they receive instructions on how to cross and where and when to
 8 deliver the controlled substances. Narcotics smugglers and their organizations use cellular
 9 telephones, in part, because these individuals believe law enforcement is unable to track
1O the originating and destination phone numbers of calls placed to and from cellular
11   telephones.
12         9.      Based upon my training, experience, and consultations with law enforcement
13   officers experienced in narcotics trafficking investigations, and a ll the facts and opinions
14 set forth in this affidavit, I submit the following:
15
           a.      Drug smugglers will use cellular/mobile telephones because they are mobile
16                 and they have instant access to telephone calls, text, web, and voice
17                 messages.

18         b.      Drug smugglers will use cellular/mobile telephones because they are able to
19                 actively monitor the progress of their illegal cargo while the conveyance is
                   in transit.
20
21         C.      Drug smugglers and their accomplices will use cellular/mobile telephones
                   because they can easily arrange and/or determine what time their illegal
22                 cargo wi ll arrive at predetermined locations.
23
           d.      Drug smugglers will use cellular/mobi le telephones to direct drivers to
24                 synchronize an exact drop off and/or pick up time of their illegal cargo.
25
           e.      Drug smugglers will use cellular/mobile telephones to notify or warn their
26                 accomplices of law enforcement activity to include the presence and posture
27                 of marked and unmarked units, as well as the operational status of
                   checkpoints and border crossings.
28
        Case 3:22-mj-03833-KSC Document 1 Filed 10/18/22 PageID.7 Page 7 of 12



           f.     Drug smugglers and their co-conspirators often use cellular/mobile
 1
                  telephones to communicate with load drivers who transport their narcotics
 2                and/or drug proceeds.
 3
           g.     The use of cellular/mobile telephones by drug smugglers tends to generate
 4                evidence that is stored on the cellular/mobile telephones, including, but not
 5
                  limited to emails, text messages, photographs, audio files, cal I logs, address
                  book entries, IP addresses, social network data, and location data.
 6
 7      l 0.   Subscriber Identity Module ("SIM") Cards, also known as subscriber identity
 8 modules, are smart cards that store data for cellular/mobile telephone subscribers. Such
 9 data includes user identity, location and phone number, network authorization data,
1o personal security keys, contact lists and stored text messages. Much of the evidence
11   generated by a smuggler's use of a cellular/mobile telephone would likely be stored on any
12 SIM Card that has been utilized in connection with that telephone.

13         11.   Based upon my training and experience as a CBP Enforcement Officer and
14 TFO, and consultations with law enforcement officers experienced in narcotics smuggling
15 investigations, and all the facts and opinions set forth in this affidavit, I have learned that
16 eel lular/mobile telephones often contain electronic records, phone logs and contacts, voice
17 and text communications, and data such as emails, text messages, chats and chat logs from
18 various third-party applications, photographs, audio files, videos, and location data. This
19 information can be stored within disks, memory cards, deleted data, remnant data, slack
20 space, and temporary or permanent files contained on or in the cellular/mobile telephone.
21   Specifically, I have learned, based upon my training, education, and experience that
22 searches of cellular/mobile telephones associated with narcotics smuggling investigations
23 yield evidence:

24          a.   tending to identify attempts to import methamphetarnine or some other
25               federally controlled substance from Mexico into the United States;

26          b.   tending to identify accounts, facilities, storage devices, and/or services-
27               such as email addresses, IP addresses, and phone numbers- used to
                 facilitate the importation of methamphetamine or some other federally
28               controlled substance from Mexico into the United States;
        Case 3:22-mj-03833-KSC Document 1 Filed 10/18/22 PageID.8 Page 8 of 12



            C.    tend ing to identify co-conspirators, criminal associates, or others involved
 1
                  in the importation of methamphetamine or some other federally controlled
 2                substance from Mexico into the United States;
 3
            d.    tending to identify travel to or presence at locations involved in the
 4                importation of methamphetamine or some other federal ly controlled
                  substance from Mexico into the United States, such as stash houses, load
 5
                  houses, or delivery points;
 6
            e.    tending to identify the user of, or persons with control over or access to,
 7
                  the cellular/mobile telephone; and/or
 8
 9          f.    tending to place in context, identify the creator or rec1p1ent of, or
                  establish the time of creation or receipt of communications, records, or
10                data involved in the activities described above.
11
                          FACTS SUPPORTING PROBABLE CAUSE
12
           12.    On October 13, 2022, at approximately 8:34 A .M., Defendant, applied for
13
     entry into the United States from Mexico through the San Ysidro, CA Port of Entry vehicle
14
     primary lane #21. Defendant was the driver and sole visible occupant of a silver 2021 Ford
15
     F- 150 (V I) bearing California license plates. A (CBP), Canine Enforcement Officer (CEO)
16
     conducting pre-primary roving operations screened VI with his canine and received a
17
     positive alert in the gas tank area. The CEO also noticed tampering and unusual markings
18
     in the gas tank of Vl. Upon Inspection before a CBP Officer, Defendant presented his
19
     California identification card bearing his name and photograph and stated he was on his
20
     way to Carlsbad, CA with nothing to declare from Mexico. Defendant and Vl were referred
21
     to vehicle secondary for further inspection.
22
23         13.    During secondary inspection, Defendant was esco1ied into a secondary office.
24 An x-ray screening was conducted on V-1 which showed anomalies within all four doors.
25
           14.    To faci litate further investigation, the packages were left in place and not
26
     opened or inspected. Agents decided to try to follow V 1 to its intended destination.
27
     Because of the exigencies of the situation and to avoid a longer delay which might cause
28
     the Defendant or any co-conspirators to suspect or detect that the packages had been
        Case 3:22-mj-03833-KSC Document 1 Filed 10/18/22 PageID.9 Page 9 of 12




 1 discovered by law enforcement, agents installed a GPS tracking device on V 1 at
 2 approximately 9:03 A.M., so Vl and Defendant cou ld leave the POE and continue to their
 3 intended destination. A tracker search warrant was immediately requested by agents and
 4 approved by Honorable Barbara L. Major a short time later.
 5          15.   Vl was followed from the San Ysidro Port of Entry and monitored via
 6 physical surveillance. The Defendant drove to a Hilton Garden Inn in Carlsbad, CA, exited
 7 V 1 and went to work. Agents maintained surveillance on V 1 at the same location. At
 8 approximately 7:38 P.M., Defendant drove away in Vl and began to conduct counter
 9 surveillance maneuvers such as multiple unnecessary U-turns, parking in empty industrial
1O parking lots without exiting V 1, and getting onto and immediately off the interstate.

ll   Defendant arrived at a Motel 6 in Carlsbad, CA, checked into a room and did not exit his
12 room until the next morning of October 14, 2022. Agents attempted to conduct a knock
13 and talk at Defendants room to no avail.
14
            16.   Vl was towed back to the San Ysidro, CA Port of Entry. A CBP Officer was
15
     assigned to inspect V 1. In furtherance of the inspection, the CBP Officer discovered seven
16
     (7) packages located in the driver side door, six (6) packages in the rear driver side door,
17
     eleven ( 11) packages in the front passenger door, six (6) packages in the rear passenger
18
     side door and thirty (30) packages inside the gas tank ofV 1. In total, the sixty ( 60) packages
19
     were removed from V l w ith a weight of approximately 30.16 kilograms (66.49 pounds).
20
     Presumptive tests of the sixty (60) packages yielded positive results for properties of
21
     methamphetamine.
22
            17.   On October 15, 2022, agents were contacted by Carlsbad Police Department
23
     and informed that Defendant was in the area of Vista, CA. A Sergeant from the Carlsbad
24
     Police Department made contact with Defendant, Defendant agreed to go with the officers
25
26 to their station. Agents arrived at the Carlsbad Police Department, took custody of
27 Defendant and transported Defendant to the San Ysidro Port of Entry for processing.
28          18.   Defendant was arrested and charged with violation of Title 21 , United States
       Case 3:22-mj-03833-KSC Document 1 Filed 10/18/22 PageID.10 Page 10 of 12




 1 Code, 952 and 960, U nlawful Importation of a Controlled Substance.
 2         19.    The Target Devices were found in Defendant's possession when taken into
 3 custody and seized by a Homeland Security Investigations Special Agent. Target Device 2
 4 was being used by Defendant when approached by agents. Target Device 1 was handed
 5 over to Agents by Carlsbad Police Departm ent along with D efendant' s other personal
 6 effects. Defendant acknowledged Target Device 1 and Target Device 2 belonged to him.
 7
           20.    Based upon my experience and training, consultation with other law
 8
     enforcement officers experienced in narcotics trafficking investigations, and all the facts
 9
     and opinions set forth in this affidavit, I believe that telephone numbers, contact names,
10
     electronic mail ( email) addresses, appointment dates, messages, pictures, and other digital
11
     information are stored in the memory of the Target Devices. In light of the above facts and
12
     my experience and training, there is probable cause to believe that the Defendant was using
13
     the Target Devices to communicate with others to further the importation of illicit narcotics
14
     into the United States. Further, in my training and experience, narcotics traffickers may be
15
     involved in the planning and coordination of a drug smuggling event in the days and weeks
16
     prior to an event. Co-conspirators are also often unaware of a defendant's arrest and will
17
     continue to attempt to communicate with a defendant after the ir a1Test to determine the
18
     whereabouts of the narcotics. Based on my training and experience, it is also not unusual
19
     for individuals, such as the Defendant, to attempt to minimi ze the amount of time they were
20
     involved in their smuggling activities, and for the individuals to be involved for weeks and
21
     months longer than they claim. Accordingly, I request permission to search the Target
22
     Devices for data beginning on September 15, 2022, up to and including October 15, 2022.
23
                                        METHODOLOGY
24
           21.    It is not possible to determine, merely by knowing the cellular telephone 's
25
     make, model and serial number, the nature and types of services to which the dev ice is
26
     subscribed and the nature of the data stored on the device. Cellular devices today can be
27
     simple cellular telephones and text message devices, can include cameras, can serve as
28
     personal digital assistants and have functions such as calendars and full address books and
       Case 3:22-mj-03833-KSC Document 1 Filed 10/18/22 PageID.11 Page 11 of 12




 1 can be mini-computers allowing for electronic mail services, web services and rudimentary
 2 word processing. An increasing number of cellular service providers now allow for their
 3 subscribers to access their device over the internet and remotely destroy a ll of the data
 4 contained on the device. For that reason, the device m ay only be powered in a secure
 5 environment or, if possible, started in "flight mode" which disables access to the network.
 6 Unlike typical computers, many cellular telephones do not have hard drives or hard drive
 7 equivalents and store information in volatile memory within the device or in memory cards
 8 inserted into the device. Current techno logy provides some solutions for acquiring some of
 9 the data stored in some cellular telephone models using forensic hardware and software.
10 Even if some of the stored information on the device may be acquired forensically, not all
11   of the data subject to seizure may be so acquired. For dev ices that are not subj ect to forensic
12 data acquisition or that have potentially relevant data stored that is not subj ect to such
13 acquisition, the examiner must inspect the device manually and record the process and the
14 results using digital photography. This process is time and labor intensive and may take
15 weeks or longer.
16         22.    Following the issuance of this warrant, I will collect the Target Devices and
17 subj ect them to ana lysis. All forensic analysis of the data contained w ithin the telephone
18 and its memory cards will employ search protocols directed exclusively to the
19 identification and extraction of data within the scope of this warrant.
20         23.    Based on the foregoing, identifying, and extracting data subject to seizure
2 1 pursuant to thi.s warrant may require a range of data analysis techniques, including manual
22 review, and, consequently, may take weeks or months. The personnel conducting the
23   identification and extraction of data will complete the analysis within ninety (90) days of
24 the date the warrant is signed, absent further application to this court.
25
                        PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
26
          24.     Law enforcement has not prev iously attempted to obtain the evidence sought
27
     by this wa1Tant.
28
       Case 3:22-mj-03833-KSC Document 1 Filed 10/18/22 PageID.12 Page 12 of 12




 1                                        CONCLUSION
 2         25.    Based on the facts and information set forth above, I submit there is probable
 3 cause to believe that a search of the Target Devices will yield evidence of the Defendant's
 4 violations of Title 21 , United States Code, Sections 952, 960 and 963. Accordingly, I
 5 request that the Court issue a warrant authorizing law enforcement to search the items
 6 described in Attachments A-1, and A-2, and seize the items listed in Attachment Busing
 7 the above-described methodology.
 8
 9
     I swear the foregoing is true and correct to the best of my knowledge and belief.
10
11
12
13                                          Homeland Security Investigations
14
   Sworn and attested to under oath by telephone, in accordance with Federal Rule of
15 Criminal Procedure 4 .1, this 17th day of October 2022.
16
17
18                                         H~Wfo
                                            United States Magistrate Judge
19
20
21
22
23
24

25
26
27
28
